Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page1of9

- UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

 

ORLANDO DIVISION
IN RE:
Debtor(s) IRITH D. FLORES CASENO.: 6: | F-bkK- O3002.
CHAPTER 13 PLAN
A. NOTICES.

Debtor must check one box on each line to state whether or not the Plan includes each of the
following items. If an item is checked as “Not Included,” if both boxes are checked, or if neither box
is checked, the provision will be ineffective if set out later in the Plan.

 

A limit on the amount of a secured claim based on a valuation which may result in a partial
payment or no payment at all to.the secured creditor. See Sections C:5(d) and (e). A separate ["] Included [-] Not included
motion will be filed.

 

Avoidance of a judicial lien or nonpossessory, nonpurchase money secutity interest under 1!
ULS.C, § $22(f). A separate motion will be filed. See Section.C.5(e).

Nonstandard provisions, set out in Section E. (m] ‘Included [-] Not included

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED CREDITOR
UNDER SECTION 5(i) OF THIS PLAN, TO SURRENDER THE SECURED CREDITOR'S COLLATERAL
UNDER SECTION 5(j), OR TO NOT MAKE PAYMENTS TO THE SECURED CREDITOR UNDER

_ SECTION 5(k), THE AUTOMATIC STAY DOES NOT APPLY AND THE CREDITOR MAY TAKE
ACTION TO FORECLOSE OR REPOSSESS THE COLLATERAL,

[-] Included ([] Not included

 

 

 

 

 

 

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS, AND
OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY INTEREST IN PERSONAL
OR REAL PROPERTY COLLATERAL

B. MONTHLY AYMENTS.

Plan payments include the Trustee’s fee of 10% and shall begin 30 days from petition
filing/conversion date. Debtor shall make payments to the Trustee for the period of . If the
Trustee does not retain the full 10%, any portion not retained will be disbursed to allowed
claims receiving payments under the Plan and may cause an increased distribution to the
unsecured class of creditors

 

from
$1,000.00 months I through. 7 ;

2. from
$1,200.06 months 8 through 60 ;

 

1 All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals. Page’l of 6

 
Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 2of9

C. PROPOSED DIS TIO

1 AD T ATT Y'S FEES.
Base Fee $2,500.00 Total Paid Prepetition $2,500.00 - Balance Due $0.00
MMM Fee $0.00 Total Paid Prepetition $0.00 _ Balance Due $0.00
Estimated Monitoring Fee at $50.00 per Month.
Attorney's Fees Payable Through Plan at $0.00 Monthly (subject to adjustment).
[mi] NONE 2. D IC SUPPORT ATI a, din 1

[m] NONE 3. PRIORITY CLAIMS (as defined in 11 U. 507).

4, TRUSTEE FEES. From each payment received from Debtor, the Trustee shall receive a fee,
the percentage of which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS, Pre-confirmation payments allocated to secured creditors under the Plan,
other than amounts allocated to cure arrearages, shall be deemed adequate protection payments. The Trustee shall
disburse adequate protection payments to secured creditors prior to confirmation, as soon as practicable, if the Plan
provides for payment to the secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has
filed a proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending. If Debtor's
payments under the Plan are timely paid, payments to secured creditors under the Plan shall be deemed contractually
paid on time.

 

( NONE (a) Claims Secured by Debtor's Principal Residence Which Debtor Intends to Retain -
Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
Plan. If the Plan provides for curing prepetition arrearages on a mortgage on Debtor's principal
residence, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
monthly postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
payments, which may be adjusted up or down as provided for under the loan documents, are due
beginning the first due date after the case is filed and continuing each month thereafter. The Trustee
shall pay the postpetition mortgage payments for Debtor's principal residence on the following
mortgage claims: Under I1 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal
liability on these claims.

 

 

Last Four Creditor Collateral Address Regular Gap Arrears
Digits of Monthly Payment
Acct. No. Payment

 

Page 2 of 6

 
Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 3 of 9

 

1. xxx2768 BB&T Mortgage 7615 Fringe Place $755.03 $0.00 $100.00
Attn:Bankruptcy Cocoa, FL 32927
PO Box 1847
Wilson, NC 27894

 

[) NONE

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain - Mortgage
Payments, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor will pay, in addition
to all other sums due under the proposed Plan, all regular monthly postpetition mortgage payments
to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up or down as
provided for under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter. The Trustee shall pay the postpetition mortgage payments on the
following mortgage claims: Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of
personal liability on these claims.

 

(™] NONE

(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage Modification. If
Debtor obtains a modification of the mortgage, the modified payments shall be paid through the
Plan. Pending the resolution of a mortgage modification request, Debtor shall make the following
adequate protection payments to the Trustee: (1) for homestead property, the lesser of 31% of gross
monthly income of Debtor and non-filing spouse, if any (after deducting homeowners association
fees), or the normal monthly contractual mortgage payment; or (2) for non-homestead, income-
producing property, 75% of the gross rental income generated from the property. Debtor will not
receive a discharge of personal liability on these claims.

 

 

f) NONE

(d) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (6)(2), this provision does not apply
to a claim secured solely by Debtor's principal residence. A separate motion to determine secured
status or to value the collateral must be filed. The secured portion of the claim, estimated below,
shall be paid. Unless otherwise stated in Section E, the payment through the Plan does not include
payments for escrowed property taxes or insurance.

 

[™) NONE

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506.
Debtor must file a separate motion under § 522 to avoid a judicial lien or a nonpossessory,
nonpurchase money security interest because it impairs an exemption or under § 506 to determine
secured status and to strip a lien.

 

[a] NONE

(f) Claims Secured by Real Property and/or Personal Property to Which Section 506
Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a). The claims
listed below were either: (1) incurred within 910 days before the petition date and secured by a
purchase money security interest in a motor vehicle acquired for the personal use of Debtor; or (2)
incurred within one year of the petition date and secured by a purchase money security interest in
any other thing of value. These claims will be paid in full under the Plan with interest at the rate
stated below.

 

fm] NONE

(g) | Claims Secured by Real or Personal Property to be Paid with Interest Through the
Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full under the
Plan with interest at the rate stated below.

 

[) NONE

(h) Claims Secured by Personal Property - Maintaining Regular Payments and Curing
Arrearage, if any, with All Payments in Plan. Debtor will not receive a discharge of personal
liability on these claims.

 

Page 3 of 6

 

 
 

Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 4of9

 

(] NONE

(i) Secured Claims Paid Directly by Debtor. The following secured claims are being made via
automatic debit/draft from Debtor's depository account and are to continue to be paid directly to the
creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay is
terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
and lessors upon the filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor's
state law contract rights. Debtor wil! not receive a discharge of personal liability on these claims.

Last Four Digits of Creditor Property/Collateral
Acct. No.

1, xxx6505 Bank of America 2014 Jeep Compass
Attn: Bankruptcy
PO Box 982238
E] Paso, TX 79998

 

[i] NONE

(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following
collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem
as to Debtor and in rem and in personam as to any codebtor as to these creditors upon the filing of
this Plan.

 

[li] NONE

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to make
payments to the following secured creditors. The automatic stay is terminated in rem as to Debtor
and in rem and in personam as to any codebtor with respect to these creditors upon the filing of this
Plan. Debtor's state law contract rights and defenses are neither terminated nor abrogated. Debtor
will not receive a discharge of personal liability on these claims.

 

6. LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall

disburse payments to creditors under leases or executory contracts prior to confirmation, as soon as practicable, if the
Plan provides for payment to creditor/lessor, the creditor/lessor has filed a proof of claim or Debtor or Trustee has
filed a proof of claim for the secured creditor/lessor under § 501(c), and no objection to the claim is pending. If
Debtor's payments under the Plan are timely paid, payments to creditors/lessors under the Plan shail be deemed
contractually paid on time.

[i] NONE

(a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
and Arrearages Cured Through the Plan. Debtor assumes the following leases/executory
contracts and proposes the prompt cure of any prepetition arrearage as follows. If the claim of the
lessor/creditor is not paid in full through the Plan, under |! U.S.C. § 1328(a)(1), Debtor will not
receive a discharge of personal liability on these claims.

 

[a] NONE

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
Directly by Debtor. Debtor assumes the following lease/executory contract claims that are paid via
automatic debit/draft from Debtor's depository account and are to continue to be paid directly to the
creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay is
terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
and lessors upon the filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor's
state law contract rights. Debtor will not receive a discharge of personal liability on these claims.

 

[™] NONE

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased
Property. Debtor rejects the following leases/executory contracts and will surrender the following
leased real or personal property. The automatic stay is terminated in rem as to Debtor and in rem
and in personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.

 

Page 4 of 6

 

 

 
 

7.

Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page5of9

GENE UN I , RS. General unsecured creditors with

allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above referenced creditors or shall otherwise be paid under a subsequent —_$0.00

 

D.

GENERAL PLAN PROVISIONS:
1. Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such
claims.

2. Payments made to any creditor shall be based upon the amount set forth in the creditor's proof of
claim or other amount as allowed by an Order of the Bankruptcy Court.

3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the estate
shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case, unless the Court
orders otherwise. Property of the estate

(a) shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case, unless the
Court orders otherwise, or

[1 (b) shall vest in Debtor upon confirmation of the Plan.

4, The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief and/or the
proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the Trustee shall only pay
creditors with filed and allowed proofs of claim. An allowed proof of claim will control, unless the Court
orders otherwise.

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions. The
actual distributions may vary. If the summary or spreadsheet conflicts with this Plan, the provisions of the
Plan control prior to confirmation, after which time the Order Confirming Plan shall control.

6. Debtor shall timely file all tax returns and make all tax payments and deposits when due.

(However, if Debtor is not required to file tax returns, Debtor shall provide the Trustee with a statement to
that effect.) For each tax return that becomes due after the case is filed, Debtor shall provide a complete copy
of the tax return, including business returns if Debtor owns a business, together with all related W-2s and
Form 1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered, consented to by the
Trustee, or ordered by the Court, Debtor shall turn over to the Trustee all tax refunds in addition to regular
Plan payments. Debtor shall not instruct the Internal Revenue Service or other taxing agency to apply a
refund to the following year's tax liability. Debtor shall not spend any refund without first having
obtained the Trustee's consent or Court approval.

 

 

Page 5 of 6

 
Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 6of9

 

E. NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c). Note:
Any nonstandard provisions of this Plan other than those set out in this section are deemed void and are:stricken.

*See attached Excel spread sheet

 

 

 

CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney, certifies
that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the
Model Plan adopted by this Court, and that this Plan contains no additional or deleted wording or nonstandard
provisions other than any nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)

irith D. Flores 3 p Date 5/3/2019
Date

 

 

 

Date 5/3/2019

Page 6 of 6

 

 
Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 7 of 9

CERTIFICATE OF SERVICE

en a cmeniennneeeanoen eitasiaAa Tae

1/We HEREBY CERTIFY that a true and correct copy of this Chapter 13 Plan of

Debtor(s) was furnished by United States mail, postage prepaid, to All Creditors and Parties

in Interest as listed on the Court’s Matrix as attached, this Fray of , 2019.
/s/ NEIL J. BUCHALTER, ESQ.
. NEIL J. BUCHALTER, P.A.
BUCHALTER LAW GROUP

Florida Bar No.: 295647
2395 N. Courtenay Parkway, Suite 203
Merritt Island, FL 32953
Tel: (321) 205-0900
Fax: (321) 205-0903

Email: eservice@buclaweroup.com
Attorney for Debtor

 

 

 
Case 6:19-bk-03002-KSJ Doc7 Filed 05/06/19 Page 8 of 9

 

 

 
Case 6:19-bk-03002-KSJ Doc 7 Filed 05/06/19 Page 9 of 9

Label Matrix for local noticing United States Trustee - ORL?/13 7 (p)BANK OF AMERICA
113A-6 Office of tha United States Trustee PO BOX 982238
Case 6;19-bk-03002 George C Young Federal Building EL PASO TX 79998-2238

Middle District of Florida 400 West Washington Street, Suite 1100

Orlando Orlando, FL 32801-2210

Fri May 3 13:56:45 BOT 2019

(p)8B AND Brevard County Tax Collector Cavalry Portfolio Services
PO BOX 1647 Attn: Honorable Lisa Cullen, CFC Attn: Bankruptcy Department

WILSON NC 27894-1847

First Federal Credit Control
Attn: Bankruptcy

24700 Chagrin Blvd, Ste 205
Cleveland, OH 44122-5662

IC System Inc

Attn: Bankruptcy

P.O. Box 64378

St. Paul, NN 55164-0378

Midland Funding
2365 Northside Dr Ste 300
San Diego, CA 92108-2709

Post Office Box 2500
Titusville FL 32781-2500

Florida Department of Revenue
Bankruptcy Unit

Post Office Box 6668
Tallahassee FL 32314-6668

Internal Revenue Service
Post Office Box 7346
Philadelphia PA 19101-7346

Trith D Flores
7615 Fringe Place
Cocoa, FL 32927-3417

500 Summit Lake Ste 400
Valhalla, N¥ 10595-2322

Hyat, Hayt & Landau, P.L.
for Cavalry SIV

7165 SW 87th Avenue
Suite 101

Miami, FL 33173-2535

Kohls/Capital One

Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130-0285

Neil J Buchalter

Neil J Buchalter PA

2395 North Courtenay Parkway
Suite 203

Merritt Island, FL 32953-4034

The preferred mailing address (p) above has been substituted for the folloving entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.?. 2002 (g) (4).

Bank Of America
Attn: Bankruptcy
Po Box 982238

El Paso, TX 79998

BbsT

In Care of Bankruptcy Dept
Po Box 1847

Wilson, NC 27894

End of Label Matrix

Mailable recipients 14
Bypassed recipients 0
Total 4

 
